                           UNITED STATES DISTRICT COURT
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(Name)          ^iOkA      TToJE^Uv 5.
              Petitioner,

       V.



United States of America,
          Respondent.

Criminal Case No.:             H»11       ^^ ~ OQ v^



   MOTION FOR RELIEF FROM A JUDGMENT BY CORRECTING PRE-SENTENCE
INVESTIGATION REPORT PER FRCP (60(b)(6) OR PER 28 USC 2255 IF NONE
      HAS BEEN SUBMITTED AND CONSTRUING AS SUCH WOULD BE TIMELY


HONORABLE U.S. DISTRICT COURT:




       Comes    now    Petitioner         named     above, hereafter "Petitioner",

Pro Se in this submission to this court to adjust his presentence

report to redact out any such information by which Petitioner

might be       barred or prevented from getting the credit and time

off    as      reward        for      successful          completion        of    the    R-DAT

("Residential         Drug     Treatment") Program.              This       is   possible   as

pointed out in the Precepts and discussion of United States v.

Fraley, 2007 U.S. Dist.                 Lexis 47118 (2007).                Defendant Fraley

had a 3-point enhancement for Dangerous chemicals, akin to the

enhancements for firearms, past violent acts in criminal history,

and disqualifying prior convictions or conduct including things

considered as Escapes, and                   because its appearance in the PSR,

Fraley      would   not    have     been     able     to receive      the    R-DAP      credit.
      The District Court took the entry out of the PSR, allowing
Fraley to benefit from the credit.



      Petitioner     was    recommended       for     and        is   eligible     for

participation   in    the    BOP   R-DAP    program    whereby time          off the

sentence may be received as an award for successful completion

pursuant to 18 USC 3621(e).          However, because of the PSR mention

of certain    matters, such as a firearm, dangerous chemicals in

some situations, and past convictions of a certain type, as well'

as matters considered to b eminor escapes or escapes. Petitioner

will not receive the credit which would ordinarily be awarded

upon successful completion.



      It remains clear that the Court and the government do not

object to, and indeed likely intend for Petitioner to receive

participation in and all benefits of successful completion of

all BOP enrichment and personal improvement programs such as the

R-DAP program specifically.          This would make Petitioner eligible

for   early   release       per    the    program     and    time      credit     upon

completion.

      The   Courts   recommend     that    Petitioner       be    involved   in   and

engaged in all vocational and educational training opportunities
that might be available which would include the R-DAP program
and its benefits.
       In Fraley, the Magistrate determined that the district court

had authority to remove Fraley's enhancement from the PSR under

Hickerson v. Willingham, 2006 U.S. Dist. Lexis 89101, 2006 W.L.

3422186 (D. Conn. Nov. 28, 2006).                   Since then, district courts

across the country have granted relief by use of this means of

records adjustment in accord with the Court's supervisory and

other powers to amend such PSR to extract and redact mention of

things relied upon to disqualify Petitioner from programs and

improvement incentives otherwise to be awarded.



       WHEREAS    and    for    good    cause. Petitioner         prays that this

Honorable Court amend the Presentence Report by deleting any such

mention of any items which the BOP would use as a predicate to

exclude Petitioner from being among those eligible and entitled

to    R-DAP    programming     and its incentive reward of time credit

(time off) upon successful completion of the intensive and life-

altering, views-altering, enlightening                 program.      And grant any

other warranted favorable relief the court might find favorable

and to advance the ends mentioned herein under the totality of

the    circumstances.          All   herein    is    sworn   true,       correct,    and

complete per 28 USC 1746.



       Where    this    is   received   with   and    annexed   to   a    28   USC   2255

submission, it shall be a supplement for all purposes, where this

is received without direction, it may be taken as both 60(b)(6)

and 2255.
Duly Presented



/s/x    V'S V—-      'J. ^^             [L.S.]
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